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B AO 470 (Rev. 8/85) Order of Temporary Detention




                                 UNITED STATES DISTRICT COURT

                                                    District of Idaho


     UNITED STATES OF AMERICA,

                                    v.                                  ORDER RE: BRADY NOTICE

     YVONNE ST CYR,                                                     Case No. 1-21-mj-00453-CWD-1

                                Defendant.


            Because of an oversight on the part of the Court, the oral Brady Notice was not

 given during the Initial Appearance/Rule 5(c)(3) hearing. This order shall serve to provide

 the Brady Notice. The Government may make its objection, if any, in the same written

 filing that it has made in other cases.

         Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
 the Supreme Court’s decision in Brady v. Maryland, and all applicable decisions
 interpreting Brady, the government is ordered to disclose to the defendant in a timely
 manner all information or evidence known to the government that is either: (1) relevant to
 the defendant’s guilt or punishment; or (2) favorable to the defendant on the issue of guilt
 or punishment.
         The consequences for violating either this Order or the government’s obligations
 under Brady include, but are not limited to, the following: contempt, sanction, referral to a
 disciplinary authority, adverse jury instruction, exclusion of evidence, and dismissal of
 charges. The Court’s General Order 389, on the same subject, is incorporated into this
 notice, by this reference.
                                                                                 March 05, 2021
